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8                                IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   ROBERT ALLAN PETERSON,

11                  Plaintiff,                      No. CIV S-04-2226 LKK GGH P

12            vs.

13   A. TEDFORD, et al.,

14                  Defendants.                     ORDER

15                                          /

16                  On May 18, 2006, plaintiff, a state prisoner proceeding pro se, has requested that

17   this action be dismissed. On May 19, 2006, defendants filed a notice of non-objection to

18   plaintiff’s request for dismissal. Pursuant to Fed. R. Civ. P. 41(a), plaintiff's request shall be

19   honored, and the case is dismissed.

20                  Accordingly, IT IS HEREBY ORDERED that the Clerk close this action.

21   DATED: 6/28/06
                                                            /s/ Gregory G. Hollows
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                                                            GREGORY G. HOLLOWS
23                                                          UNITED STATES MAGISTRATE JUDGE

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